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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                          WACO DIVISION

                                    §
PARUS HOLDINGS INC.,                §
                                    §
                Plaintiff,          §       Civil Action No. 6:19-cv-433-ADA
                                    §
v.                                  §
                                    §       JURY TRIAL DEMANDED
GOOGLE LLC,                         §
                                    §
                Defendant.          §


 DEFENDANT GOOGLE LLC’S RULE 12(b)(6) MOTION TO DISMISS CLAIMS OF
         WILLFUL INFRINGEMENT, INDUCED INFRINGEMENT,
                    AND INJUNCTIVE RELIEF
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I.        INTRODUCTION

          Plaintiff Parus Holdings Inc.’s (“Parus”) claims of willful and indirect infringement and

request for injunctive relief should be dismissed because Parus fails to plead facts that plausibly

allege the necessary elements supporting those claims and that relief.

          First, Parus concedes that Defendant Google LLC (“Google”) did not have pre-suit

knowledge of U.S. Patent Nos. 7,076,431 (“the ’431 Patent”) or 9,451,084 (“the ’084 Patent”)

(collectively, the “Asserted Patents”) or its alleged infringement, alleging in its Complaint that

Google in fact only learned of the Asserted Patents as a result of Parus’s lawsuit. It is black letter

law that to state a claim for willful, induced, or contributory infringement, a plaintiff must show

that the defendant had knowledge of the patent or was willfully blind to its existence. Parus’s

claims must therefore be dismissed.

          Second, Parus’s willful and indirect infringement claims must be dismissed for the

independent reason that Parus does not and cannot plead the remaining elements of these claims.

Specifically, Parus does not allege, nor could it, that Google engaged in “egregious” conduct, as

required for willful infringement; knowingly sold its products as especially made components of

an infringing system or use, as required for contributory infringement; or had the “specific intent”

to induce infringement, as required for induced infringement.

          Finally, Parus’s request for injunctive relief is unsupportable because Parus does not allege

any injury that is irreparable and cannot be compensated by monetary damages.

          Because Parus’s Complaint is deficient in all of these respects, the Court should dismiss

Parus’s claims of willful, contributory, and induced infringement, and its request for injunctive

relief.




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II.    LEGAL STANDARD

       To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The

plausibility standard is not met unless the “plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. Courts

“are not bound to accept as true a legal conclusion couched as a factual allegation.” Id. Thus,

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Id.

III.   ARGUMENT

       A.      Parus Fails To Adequately Plead Willful Infringement

       The Court should dismiss Parus’s willful infringement claims because Parus’s own

allegations confirm that Google (1) did not have pre-suit knowledge of the Asserted Patents and

(2) did not engage in “egregious” conduct. Parus bases its willful infringement claims solely on

the fact that Google learned of the Asserted Patents after the complaint was filed and the

unsupported legal conclusion that Google’s alleged infringement has been willful. Compl. ¶¶ 18-

19, 62-63. The entirety of Parus’s allegations are:

              18.   Upon filing of the complaint or shortly thereafter, Defendant Google
       has knowledge of the ’431 Patent.

               19.    Defendant Google’s acts of direct infringement of the ’431 Patent
       are willful, and have caused and will continue to cause substantial damage and
       irreparable harm to Parus, and Parus has no adequate remedy at law.

              62.   Upon filing of the complaint or shortly thereafter, Defendant Google
       has knowledge of the ’084 Patent.

               63.    Defendant Google’s acts of direct infringement of the ’084 Patent
       are willful, and have caused and will continue to cause substantial damage and
       irreparable harm to Parus, and Parus has no adequate remedy at law.


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Such allegations could be pled in every patent infringement action and are wholly insufficient to

support a claim of willful infringement.

               1.      Parus Fails To Plead Pre-Suit Knowledge Of The Asserted Patents

       A claim for willful patent infringement must allege that infringement was “intentional or

knowing.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1926 (2016). Willful

infringement requires knowledge of the allegedly infringed patent and that “the infringer acted

despite an objectively high likelihood that its actions constituted infringement of a valid patent.”

Id. at 1930; see also id. at 1933 (“culpability is generally measured against the knowledge of the

actor”); WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1341 (Fed. Cir. 2016) (“Knowledge of the

patent alleged to be willfully infringed continues to be a prerequisite to enhanced damages” after

Halo); cf. Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 767 (2011) (willful blindness

may stand in the place of actual knowledge).

       Parus’s claim of willful infringement necessarily fails because Parus expressly alleges that

Google has only post-suit knowledge of the patents. As this Court has explained, “[o]rdinarily,

the Court would dismiss an allegation of willful infringement without prejudice absent a specific

allegation of pre-suit knowledge of the asserted patents.” Frac Shack Inc. v. AFD Petroleum (Tex.)

Inc., 2019 WL 3818049, at *5 (W.D. Tex. Jun. 13, 2019); see also VLSI Tech., LLC v. Intel Corp.,

No. 6:19-cv-254-ADA, Dkt. No. 52, at 2 (W.D. Tex. Aug. 6, 2019) (dismissing willful

infringement claims). This case is the quintessential example of when a willful infringement claim

should be dismissed, because there is absolutely no allegation of pre-suit knowledge. Where a

complaint “wholly lacks factual allegations raising a reasonable inference of pre-suit knowledge”

of the asserted patent, that complaint “fails to state a claim of willful infringement.” Inhale, Inc.

v. Gravitron, LLC, 2018 WL 7324886, at *3 (W.D. Tex. Dec. 10, 2018). Here, there can be no




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“reasonable inference of pre-suit knowledge” because Parus has alleged that Google learned of the

patents only after the complaint was filed.

       While some courts have held that a pleading of post-suit knowledge alone can form the

basis of willful infringement, those decisions are contrary to precedent. In Mentor Graphics

Corporation v. EVE-USA, Inc., decided after Halo, the Federal Circuit affirmed that “in ordinary

circumstances, willfulness will depend on an infringer’s prelitigation conduct” because “a patentee

must have a good faith basis for alleging willful infringement.” 851 F.3d 1275, 1295 (Fed. Cir.

2017) (quoting In re Seagate Tech., LLC, 497 F.3d 1360, 1374 (Fed. Cir. 2007)). As the Supreme

Court explained, “culpability is generally measured against the knowledge of the actor at the time

of the challenged conduct.” Halo, 136 S. Ct. at 1933. District courts examining this controlling

authority have thus concluded that post-suit knowledge alone fails to support a pleading of willful

infringement. Valinge Innovation AB v. Halstead New England Corp., 2018 WL 2411218, at *11

(D. Del. May 29, 2018); Adidas Am., Inc. v. Sketchers USA, Inc., 2017 WL 2543811, at *4 (D. Or.

June 12, 2017). As one court recently held, “the complaint itself cannot serve as the basis for a

defendant’s actionable knowledge,” because “[t]he purpose of a complaint is not to create a claim

but rather to obtain relief for an existing claim.” VLSI Tech. LLC v. Intel Corp., 2019 WL 1349468,

at *2 (D. Del. Mar. 26, 2019).

       Because Parus pleads facts confirming that Google had no pre-suit knowledge of the

Asserted Patents, Parus’s claim for willful infringement must be dismissed.

               2.      Parus Fails To Plead That Google Engaged In “Egregious” Conduct

       Parus’s willful infringement claims fail for a separate, independent reason. A claim of

willful infringement also requires the plaintiff to show that a defendant’s infringement is an

“egregious case[ ] of culpable behavior,” which has alternately been described as conduct that is




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“willful, wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or—indeed—

characteristic of a pirate.” Halo, 136 S. Ct. at 1932.

       Parus’s bare pleading fails to allege any egregious conduct. To the contrary, it reveals a

conventional case in which a patent owner alleges infringement, and the defendant learns of the

alleged infringement solely based on the lawsuit. This is precisely the type of case for which

willful infringement should not be found. “Awards of enhanced damages under the Patent Act

over the past 180 years establish that they are not to be meted out in a typical infringement case,

but are instead designed as a ‘punitive’ or ‘vindictive’ sanction for egregious infringement

behavior.” Id. “‘[W]illful misconduct’ do[es] not mean that a court may award enhanced damages

simply because the evidence shows that the infringer knew about the patent and nothing more.”

Id at 1936 (Breyer, J., concurring) (emphasis in original). Because Parus’s allegations are not only

inadequate, but are indeed contrary to a finding of willful infringement, Parus has failed to “‘state

a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570.

       Numerous courts, including those in this District, have held that the failure to plead facts

that plausibly support egregious conduct requires dismissal of claims of willful infringement. The

“threadbare recital of the elements of willful infringement, supported by mere conclusory

statements, does not suffice.” Meetrix IP, LLC v. Cisco Sys., Inc., 2018 WL 8261315, at *3 (W.D.

Tex. Nov. 30, 2018) (internal markings omitted) (dismissing willful infringement claim based on

failure to articulate an allegation of egregiousness). Where an accused infringer learns of the patent

post-suit, and then merely continues to manufacture infringing products, that would “simply be

the kind of ‘garden-variety’ patent case that Halo affirms is ill-suited for a finding of willfulness.”

M&C Innovations, LLC v. Igloo Prods. Corp., 2018 WL 4620713, at *5 (S.D. Tex. July 31, 2018)

(dismissing willful infringement claim where the “post-suit fact pattern characterizes every

infringement action except for those in which an alleged infringer immediately ceases production


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following service of the complaint”); see Princeton Digital Image Corp. v. Ubisoft Entm’t SA,

2016 WL 6594076, at *11 (D. Del. Nov. 4, 2016) (dismissing willful infringement claims in a

third amended complaint, where that complaint “does not sufficiently articulate how [defendant’s]

actions during a short, three-month period of time amount to an ‘egregious’ case of infringement

of the patent”).

        Because Parus’s own allegations establish that Google has not engaged in egregious

conduct, Parus’s claim for willful infringement must be dismissed.

        B.      Parus Fails To Adequately Plead Indirect Infringement

        Parus’s indirect infringement claims fail for reasons similar to its willfulness claims. First,

Parus fails to make any allegations as to the ’084 Patent at all. Second, Parus fails to allege that

Google had pre-suit knowledge of the existence of or of its alleged infringement of the ’431 Patent

– indeed, Parus concedes that Google did not learn of the Asserted Patents until after the suit was

filed. Third, Parus fails to plead facts plausibly supporting that Google contributed to infringement

by selling any component it knew was especially made for use in infringing the ’431 Patent.

Finally, Parus fails to plead facts plausibly supporting that Google had the required “specific

intent” to induce infringement of the ’431 Patent. Parus’s allegations of contributory and induced

infringement are nothing more than formulaic recitations of the elements of these claims, merely

stating legal conclusions without any factual support. Parus’s Complaint does not “contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. 544, 570 (2007)).

                1.      Parus Fails To Plead Indirect Infringement Of The ’084 Patent

        Parus fails to allege indirect infringement of the ’084 Patent because it fails to make any

allegations at all. Instead, Parus’s complaint repeats a boilerplate allegation of induced and

contributory infringement as to the ’431 Patent. Compl. ¶¶ 92-93. Accordingly, Parus’s indirect


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infringement claim with respect to the ’084 Patent should be dismissed for failing to make even

cursory allegations.

               2.      Parus Fails To Plead Pre-Suit Knowledge Of The ’431 Patent

       As discussed above, Parus concedes that Google had no pre-suit knowledge of the ’431

Patent. Compl. ¶¶ 16, 55, 59, 92. Claims for both contributory and induced infringement require

“knowledge of the patent in suit and knowledge of patent infringement.” Commil USA, LLC v.

Cisco Systems, Inc., 135 S. Ct. 1920, 1926 (2015); see also Global-Tech, 563 U.S. at 765-66

(indirect infringement requires “knowledge of the existence of the patent that is [allegedly]

infringed” and “knowledge that the induced acts constitute patent infringement.”). “To survive a

motion to dismiss, a plaintiff alleging contributory infringement must plausibly allege that the

accused infringer knew of the asserted patents.” Artip v. Ball Corp., 735 F. App’x 708, 713 (Fed.

Cir. 2018) (citing Commil, 135 S. Ct. at 1926). Similarly, “[t]o state a claim for induced

infringement, the plaintiff must allege that the defendant knew of the patent and that the induced

acts constitute patent infringement.” Addiction & Detoxification Inst. L.L.C. v. Carpenter, 620 F.

App’x 934, 938 (Fed. Cir. 2015) (citing Commil, 135 S. Ct. at 1926).

       Here, Parus pleads neither pre-suit knowledge of the ’431 Patent nor knowledge of the

alleged patent infringement. This Court recently faced similar facts in VLSI Technology, LLC v.

Intel Corp.. in which the Court dismissed indirect infringement claims because the plaintiff failed

to plead pre-suit knowledge of the asserted patents. No. 6:19-cv-254-ADA, Dkt. No. 52, at 2

(dismissing indirect infringement claims with no allegation of actual knowledge and insufficient

facts to support allegations of willful blindness). For the same reasons, this Court should dismiss

Parus’s indirect infringement claims.

       Parus’s allegation of post-suit knowledge does not cure this fatal flaw. As with willful

infringement, “[t]he weight of authority addressing the knowledge required for indirect


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infringement, especially following the Supreme Court’s decision in Global-Tech, requires a

plaintiff to allege that defendant had pre-suit knowledge of the patents-in-suit.” Brandywine

Commc’ns Techs., LLC v. Casio Computer Co., 912 F. Supp. 2d 1338, 1345 (M.D. Fla. 2012). As

this District has previously held, “[t]o the extent [plaintiff] relies on knowledge of [plaintiff’s]

patent after the lawsuit was filed, such knowledge is insufficient to plead the requisite knowledge

for indirect infringement.” Aguirre v. Powerchute Sports LLC, 2011 WL 2471299, at *3 (W.D.

Tex. June 17, 2011); see also, e.g., Xpoint Techs., Inc. v. Microsoft Corp., 730 F. Supp. 2d. 349,

357 (D. Del. 2010) (“knowledge after filing of the present action is not sufficient for pleading the

requisite knowledge for indirect infringement”); Proxyconn Inc. v. Microsoft Corp., 2012 WL

1835680, at *5-*6 (C.D. Cal. May 16, 2012); Select Retrieval, LLC v. Bulbs.com Inc., 2012 WL

6045942, at *5-*6 (D. Mass. Jan. 31, 2014). “If post-suit notification were permissible, then the

knowledge / willful blindness requirement would be meaningless—of course alleged infringers

have actual knowledge of the patent(s) at issue once they have received the complaint.” Orlando

Commc’ns LLC v. LG Elecs., Inc., 2015 WL 1246500, at *9 (M.D. Fla. Mar. 16, 2015) (emphasis

in original).

                3.     Parus Fails To Plead Facts Plausibly Supporting That Google Sold Any
                       Component Knowing It Was Especially Made For Use In Infringing
                       The ’431 Patent

        In addition to knowledge of the patent, contributory infringement requires that the alleged

infringer sells or offers to sell a component “knowing the same to be especially made or especially

adapted for use in an infringement of such patent, and not a staple article or commodity of

commerce suitable for substantial noninfringing use.” 35 U.S.C. § 271(c). Thus, “[a] complaint

for contributory infringement must include facts supporting the plausibility of the following: (1)

the defendant supplies a component that is a material part of a patented invention; (2) the defendant

knows that the component is ‘especially made or especially adapted for use in an infringement of


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such patent’; (3) the component is not a staple article or commodity suitable for noninfringing use;

and (4) the component is ultimately used in a direct infringement of the patent.” Joao Control &

Monitoring Sys., LLC v. Protect Am., Inc., 2015 WL 3513151, at *5 (W.D. Tex. Mar. 24, 2015).

       Parus’s entire contributory infringement allegation is set forth in the following single

paragraph:

               58.    Defendant Google has also infringed, and continues to infringe,
       claims of the ‘431 Patent by offering to commercially distribute, commercially
       distributing, making and/or importing the Google Accused Products, which are
       used in practicing the process, or using the systems, of the ‘431 Patent, and
       constitute a material part of the invention. Defendant Google knows the
       components in the Google Accused Products to be especially made or especially
       adapted for use in infringement of the ‘431 Patent, not a staple article, and not a
       commodity of commerce suitable for substantial noninfringing use. For example,
       the ordinary way of using the Google Accused Products infringes the patent claims,
       and as such, is especially adapted for use in infringement as set forth above.
       Accordingly, Defendant Google has been, and currently is, contributorily infringing
       the ‘431 Patent, in violation of 35 U.S.C. § 271(c).

See also Compl. ¶ 93 (repeating the same paragraph).

       Parus’s single-paragraph allegation (repeated twice) fails to meet any of the four

requirements for pleading contributory infringement. Courts in this District reject the reliance on

“threadbare recital” of “the elements of a contributory infringement claim.” Iron Oak Techs., LLC

v. Dell, Inc., 2018 WL 1631396, at *2 (W.D. Tex. Apr. 4, 2018); see Joao Control, 2015 WL

3513151, at *5. Other courts are broadly in agreement. Core Wireless Licensing S.A.R.L. v. Apple

Inc., 2015 WL 4910427, at *5 (E.D. Tex. Aug. 14, 2015) (“none of these generic allegations

provide any factual basis upon which a plausible inference of contributory infringement can be

drawn”); Windy City Innovations, LLC v. Microsoft Corp., 193 F. Supp. 3d. 1109, 1116 (N.D. Cal.

2016) (“boilerplate language stating the legal conclusion to be proved” insufficient for alleging

contributory infringement); 3D Sys., Inc. v. Formlabs, Inc., 2014 WL 1904365, at *6 (S.D.N.Y.

May 12, 2014) (“barebones recitation” of elements constitutes “mere conclusory allegations on

indirect infringement [that] cannot survive a motion to dismiss”); Simpson Performance Prods.,

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Inc. v. NecksGen Inc., 2018 WL 2229396, at *4 (S.D. Cal. May 16, 2018) (dismissing contributory

infringement claims where the complaint “lacks specific factual allegations from which the Court

may draw a plausible inference of contributory infringement”) (emphasis in original). Parus’s

allegations of contributory infringement do nothing more than state legal conclusions without

alleging any supporting facts. Parus’s contributory infringement claims should therefore be

dismissed.

               4.      Parus Fails To Plead Facts Plausibly Supporting That Google Had
                       Specific Intent To Encourage Others’ Infringement Of The ’431 Patent

       Parus’s Complaint likewise provides only threadbare, conclusory recitations of the

elements of induced infringement, and thus fails to plead facts supporting that Google had specific

intent to encourage others to infringe, providing an independent basis to dismiss these claims.

       “To properly state a claim for induced infringement, a complaint must plead facts that

plausibly show that the defendant has specific intent to cause another party’s direct infringement

and knew that the other party’s acts constitute infringement.” Joao, 2015 WL 3513151, at *5. As

the Federal Circuit has held, specific intent necessarily “requires more than just intent to cause the

acts that produce direct infringement. Beyond that threshold knowledge, the inducer must have

an affirmative intent to cause direct infringement.” DSU Med. Corp. v. JMS Co., 471 F.3d 1293,

1306 (Fed. Cir. 2006) (en banc review of intent requirement). “[S]imply recit[ing] the legal

conclusion that Defendants acted with specific intent” fails to plead “facts that would allow a court

to reasonably infer that Defendants had the specific intent to induce infringement.” Addiction &

Detoxification Inst., 620 F. App’x at 938.

       Here, Parus’s specific intent claims rests entirely on (1) an allegation that Google

“instruct[ed], direct[ed], and/or require[ed] others, including customers, purchasers, users and

developers, to perform one or more of the steps of the method claims” of the ’431 Patent, and

(2) an allegation—“upon information and belief”—that Google “knowingly and actively aided and

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abetted the direct infringement of the ’431 Patent by instructing and encouraging its customers,

purchasers, users, and developers to use the ‘431 Patent methods and technology” in “advertising

and promoting . . . as further described above.” Compl. ¶¶ 56-57.

       Courts routinely hold that citation to the existence of product advertising and promotion

does not itself allege facts plausibly showing specific intent to induce infringement, absent the

identification of “any particular statement or material that plausibly suggests Defendants intend to

induce infringement of the Patents-in-Suit.” Dodots Licensing Sols. LLC v. Lenovo Holding Co.,

2018 WL 6629709, at *4 (D. Del. Dec. 19, 2018) (mere citations to websites insufficient to plead

specific intent). Plaintiff must include specific allegations mapping of the advertisement or

promotion to the performance of the claimed steps of the patent. “Where defendants have not

touted the benefits of the accused products in ways that track the asserted patents, courts generally

do not infer specific intent.” Memory Integrity LLC v. Intel Corp., 144 F. Supp. 3d 1185, 1195

(D. Or. 2015); see Hypermedia Navigation LLC v. Google LLC, 2019 WL 1455336, at *3 (N.D.

Cal. Apr. 2, 2019) (“bald conclusions that an end user following YouTube instructions results in

infringement” insufficient to plead specific intent).

       Parus faces an even higher hurdle to show specific intent because Parus relies entirely on

Google’s post-suit knowledge of the ’431 Patent. Before having knowledge of the ’431 Patent,

Google could not have possessed the specific intent to induce infringement. Parus thus must show

specific intent tied to some post-suit conduct. But to the extent Google continues the same

advertising and promotional activities in which it was engaged before learning of the patents, those

are not actions done with the “specific intent” to induce infringement, but rather with the intent to

continue the advertising and promotion of Google’s products. Laws against inducement are not

intended to prohibit “ordinary acts incident to product distribution, such as offering customers

technical support or product updates.” Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545


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U.S. 913, 937 (2005). Here, Parus must plead facts showing “that the post-knowledge actions

teach an infringing use.” CyWee Grp. Ltd. v. HTC Corp., 312 F. Supp. 3d 974, 979 (W.D. Wash.

2018) (emphasis added). Parus fails to identify any such post-knowledge actions that would

plausibly show Google’s specific intent to induce infringement. Parus’s induced infringement

claim must therefore be dismissed.

       C.      Parus Fails To Adequately Plead A Claim For Injunctive Relief

       Parus’s request for temporary, preliminary, and permanent injunctive relief cannot stand,

because Parus fails to plead facts plausibly supporting irreparable harm, a necessary element of

such a claim. With respect to irreparable harm, the sole statements made by Parus are in

Paragraphs 19 and 63 of the Complaint:

               19.    Defendant Google’s acts of direct infringement of the ’431 Patent
       are willful, and have caused and will continue to cause substantial damage and
       irreparable harm to Parus, and Parus has no adequate remedy at law.

               63.    Defendant Google’s acts of direct infringement of the ’084 Patent
       are willful, and have caused and will continue to cause substantial damage and
       irreparable harm to Parus, and Parus has no adequate remedy at law.

       To establish entitlement to injunctive relief, a plaintiff must demonstrate: “(1) that it has

suffered an irreparable injury; (2) that remedies available at law, such as monetary damages, are

inadequate to compensate for that injury; (3) that, considering the balance of hardships between

the plaintiff and defendant, a remedy in equity is warranted; and (4) that the public interest would

not be disserved by a permanent injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388,

391 (2006).

       Here, Parus fails to plead facts to plausibly support a finding that it has suffered an

irreparable injury that is not compensable by monetary damages. To the extent Parus even alleges

it has products—the Complaint only implies as much through a generic allegation of marking

(Compl. ¶¶ 9-10)—Parus makes no allegations plausibly suggesting that its products compete with


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Google’s products or that Google’s alleged infringement has any impact on Parus’s product sales,

let alone irreparable harm. Absent such allegations, Parus’s claim for injunctive relief must be

dismissed. M&C Innovations, 2018 WL 4620713, at *6 (dismissing claims for lost profits and a

permanent injunction with prejudice).

IV.    CONCLUSION

       Because it is undisputed that Google did not have pre-suit knowledge of the Asserted

Patents, Parus’s claims of willful and indirect infringement should be dismissed. These claims

should also be dismissed for the independent reason that Parus fails to plead the other required

elements of the claims. Similarly, Parus’s claim for injunctive relief should be dismissed because

Parus has not plead any facts showing irreparable harm. Indeed, for each of these claims, Parus

offers nothing more than conclusory, formulaic recitations of the elements of the claims that fail

the plausibility test established in Twombly and Iqbal. This test exists to prevent “unlock[ing] the

doors of discovery for a plaintiff armed with nothing more than conclusions.” Iqbal, 556 U.S. at

678-79. Accordingly, Defendants respectfully request that this Court dismiss Parus’s claims for

willful and indirect infringement and injunctive relief.




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Dated: October 7, 2019                          /s/ Steve McConnico

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                               CERTIFICATE OF SERVICE
       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on October 7, 2019, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.


                                                    /s/ Steve McConnico
                                                    Steve McConnico


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